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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    NORTRN DIVISION
                                        ASHLAND

Civil Action No. 13-96-HRW


QUENTIN J. THOMPSON,                                                              PLAINTIFF,


v.                                              ORDER


MIDLAND FUNDING, LLC,                                                            DEFENDANT.



        This matter is before the Court upon the parties’ Joint Stipulation of Dismissal [Docket No.

109].

        Accordingly, IT IS HEREBY ORDERED that this matter be DISMISSED WITH

PREJUDICE and stricken from the docket of this Court.

        This 15th day of March 2021.
